       Case 8:19-cv-01944-SAG              Document 293       Filed 06/05/25      Page 1 of 3



                         IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION


 J.O.P., et al.,

         Plaintiffs,
                                                               Civil Action No.
         v.                                                    8:19-CV-01944-SAG

 U.S. Department of Homeland Security, et al.,

         Defendants.


                                                 ORDER

        After reviewing Class Counsel’s proposal, ECF 289, and Defendants’ response, ECF 292,

the Court ORDERS expedited discovery as outlined below.

        1) Beginning on Friday, June 6, 2025, and continuing each Friday thereafter until further

              order of this Court, Defendants should file a weekly status report on or before noon ET

              in the form of a declaration by an individual with personal knowledge. The status report

              should include any information regarding: (1) Cristian’s current physical location and

              custodial status; (2) what steps, if any, Defendants have taken to facilitate Cristian’s

              return to the United States; and (3) what additional steps Defendants will take, and

              when, to facilitate Cristian’s return.

        2) The parties will conduct expedited discovery limited to ascertaining Defendants’

              compliance with this Court’s Orders: (a) to “facilitate Class Member Cristian’s return

              to the United States,” ECF 254; and (b) to “provide a status report on the steps they

              have taken to facilitate the return of Cristian to the United States for adjudication on

              the merits of his asylum application by USCIS,” including evidence concerning


                                                       1
Case 8:19-cv-01944-SAG         Document 293         Filed 06/05/25      Page 2 of 3



   Cristian’s current physical location and custodial status, what steps, if any, Defendants

   have taken to facilitate Cristian’s return to the United States, and what additional steps

   Defendants will take, and when, to facilitate Cristian’s return, ECF 280.

3) By no later than one week from the date of this Order, the parties should submit any

   Joint ESI Protocol and Federal Rule of Evidence 502(d) Clawback Agreement.

4) By no later than one week from the date of this Order, and pursuant to Federal Rules

   of Civil Procedure 26(d)(1), 33, and 34, Class Counsel may propound upon Defendants

   up to fifteen (15) interrogatories, fifteen (15) requests for production, and fifteen (15)

   requests for admission focused on the above areas of inquiry. Any requests concerning

   discovery produced in Abrego Garcia v. Noem, 8:25-cv-00951 (D. Md.) and J.G.G. v.

   Trump, 1:25-cv-00766 (D.D.C.) must be narrowly tailored to focus on any agreement,

   arrangement, or understanding between the United States and El Salvador that also

   implicates or affects the removal, confinement, or return of Cristian.

5) Within fourteen days of receiving Class Counsel’s discovery requests, Defendants shall

   serve their responses and objections as well as any privilege log and motion for a

   protective order.

6) Within one week of receiving Defendants’ discovery responses, Class Counsel may

   move for leave of Court to conduct up to two depositions of individuals with knowledge

   and authority to testify regarding the matters identified above. Defendants shall file a

   response within two days of Class Counsel’s motion. If the Court grants such leave, it

   will set a deadline by which the depositions must be completed.

7) The Court will hold in abeyance Class Counsel’s remaining requests, articulated in

   ECF 289, until the completion of expedited discovery. However, should Defendants



                                         2
      Case 8:19-cv-01944-SAG          Document 293        Filed 06/05/25      Page 3 of 3



          fail or refuse to engage in the above-described process in good faith, Class Counsel are

          free to seek sanctions on an expedited basis.

       So Ordered.


Dated: June 5, 2025                                          /s/
                                                    Stephanie A. Gallagher
                                                    United States District Judge




                                               3
